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      EXHIBIT 20
1/12/2020                       BaiTip of the Day - November 8th, 2016 - MME and PLMN Settings - Welcome / BaiTips - Baicells Community

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   BaiTip of the Day - November 8th, 2016 - MME and
PLMN Settings
  rick.harnish         Director of WISP Markets                                                                                 Nov '16
   History
  BaiTip of the Day - November 8th, 2016: Operators using the Baicells Cloud Core EPC have
  tworick.harnish
      settings in each eNodeB
                  Sep 27, '19                                            HTML = 10.3.0.4
                              that are mandatory for authentication, the MME         HTMLand                                              Raw

  the PLMN = 314030. Do not change these settings unless you are connecting to a di erent
   BaiTip of the Day -                                  BaiTip of the Day -
  hardware EPC (core). Below are de nitions of MME and PLMN as well as a shapshot of the
  settings screen in the BiaOMC platform for eNB settings.
   November 8th, 2016 -                                 November 8th, 2016 -
  MME Mobility Management Entity LTE Mobility Management Entity is responsible for
   MMEpaging
  initiating  andandPLMN          Settings
                        authentication                  MME and PLMN Settings
                                       of the mobile devices.
  PLMN   Public
  BaiTip of      Land
            the Day    Mobile Network
                    - November 8th, 2016: A public land mobile
                                                         BaiTipnetwork  is any
                                                                of the Day     wireless8th, 2016:
                                                                           - November
  communications
  Operators using thesystem
                      Baicellsintended
                               Cloud Corefor
                                          EPCuse by terrestrial
                                              have              subscribers
                                                             Operators usingin vehicles
                                                                             the Baicells or on Core
                                                                                          Cloud foot.EPC have
  two settings
  Such a systemin each
                   caneNodeB  that arebut
                       stand alone,    mandatory
                                          often it for        two settings
                                                   is interconnected   withinaeach
                                                                                xedeNodeB that
                                                                                     system    are mandatory
                                                                                            such   as the    for
  authentication, the MME = 10.3.0.4 and the PLMN =                          authentication, the MME = 10.3.0.4 and the PLMN =
  public switched telephone network.
   31198. Do not change these settings unless you are                        314030. Do not change these settings unless you
   connecting to a di erent hardware EPC (core).                             are connecting to a di erent hardware EPC (core).
 Below are SEP
UNLISTED   de nitions
               27, '19of MME and PLMN as well as a                           Below are de nitions of MME and PLMN as well as a
   shapshot of the settings screen in the BiaOMC                             shapshot of the settings screen in the BiaOMC
   platform for eNB settings.                                                platform for eNB settings.
   MME Mobility Management Entity LTE Mobility                               MME Mobility Management Entity LTE Mobility
   Management Entity is responsible for initiating                           Management Entity is responsible for initiating
   paging and authentication of the mobile devices.                          paging and authentication of the mobile devices.
   PLMN Public Land Mobile Network A public land                             PLMN Public Land Mobile Network A public land
   mobile network is any wireless communications                             mobile network is any wireless communications
   system intended for use by terrestrial subscribers                        system intended for use by terrestrial subscribers
   in vehicles or on foot. Such a system can stand                           in vehicles or on foot. Such a system can stand
   alone, but often it is interconnected with a xed                          alone, but often it is interconnected with a xed
   system such as the public switched telephone                              system such as the public switched telephone
   network.                                                                  network.




                        3     4/4




https://community.na.baicells.com/t/baitip-of-the-day-november-8th-2016-mme-and-plmn-settings/110                                               1/1
1/12/2020                                                         eNodeB – BaiCells Technologies

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                                                                                                    SUBMIT A REQUEST    SIGN IN




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   BaiCells Technologies > General > FAQs                                                                                   Follow




   eNodeB
   Q: Is the eNB powered by PoE?

   A: Some models of eNBs are powered by PoE, while others are powered by +/- 48V DC. For your specific
   model, check the data sheet specifications on our website: https://baicells.zendesk.com/hc/en-
   us/categories/204105328-Hardware




   Q: Does the eNB support fiber?

   A: Our first generation of eNBs only supported copper backhauls, but starting with our second generation of
   products fiber and copper are supported on some models. For your specific model, check the data sheet
   specifications on our website: https://baicells.zendesk.com/hc/en-us/categories/204105328-
   Hardware




   Q: Do you have a management port?

   A: Yes, one dedicated Ethernet port.




   Q: How many users are supported?

   A: The user capacity depends on the eNB model. Our first generation of products supported 32 active and 96
   connected users but has increased to 96 users with recent software upgrades. Our second generation of
   products support anywhere from 32 to 255 active users depending on the eNB model and LTE mode of
   operation (FDD or TDD). For your specific model, check the data sheet specifications on our website:
   https://baicells.zendesk.com/hc/en-us/categories/204105328-Hardware




   Q: What is the typical latency?

https://baicells.zendesk.com/hc/en-us/articles/228076248-eNodeB                                                                      1/7
1/12/2020                                                            eNodeB – BaiCells Technologies

   A: 10ms w/2 subscribers.
        USDC     IN/ND case Typical1:20-cv-00037-HAB-SLC
                                    is 20 ms. Jitter is 1 to 2 ms.          document 36-22 filed 04/03/20 page 4 of 9



   Q: What are the maximum download and upload speeds?

   A: The maximum DL and UL speeds depend on the eNB model, mode of operation, and if TDD mode, the
   SubFrame Assignment configuration. Generally, the eNB provides 110 Mbps DL and 20 Mbps UL. For your
   specific model, check the data sheet specifications on our website: https://baicells.zendesk.com/hc/en-
   us/categories/204105328-Hardware




   Q: What is the maximum distance?

   A: The maximum distance or range achievable by a single eNB depends on many factors. In general FDD
   mode can provide greater coverage than TDD, but TDD uses less spectrum as resources are shared based on
   timing between DL and UL transmissions on the same frequency. The answer to this question also depends
   on the eNB model used, e.g., 1Watt vs 10Watt power. Other variables such as LOS vs NLOS, interference,
   and UE antenna gain also affect the distance for a good enough signal between the eNB and UE. In general,
   as a guideline you can expect roughly a maximum limit of 8-10 miles (14-16 km).




   Q: Is GPS included?

   A: Yes, the GPS is included with outdoor eNBs. Some are embedded and some are external. Please refer to
   the data sheet specifications for your model: https://baicells.zendesk.com/hc/en-
   us/categories/204105328-Hardware




   Q: How many eNBs can sync together?

   A: eNB syncing is unlimited.




   Q: Does the Nova eNB sync with other LTE manufacturers' equipment?

   A: Baicells follows the LTE 3GPP standards and does sync with many other brands.




   Q: Does the eNB have a built-in spectrum analyzer?

   A: Not at this time, but a future software update is planned to incorporate this functionality.




   Q: What antennas do you support?

   A: We recommend slant 45 antennas for LTE operation. The following vendors have been approved for
   operation with Baicells: KP Performance, Alpha Wireless, Radio Frequency Systems (RFS), MTI, Mars,



https://baicells.zendesk.com/hc/en-us/articles/228076248-eNodeB                                                         2/7
1/12/2020                                                            eNodeB – BaiCells Technologies

   Radio USDC
         Waves, and more recently
                 IN/ND    case a1:20-cv-00037-HAB-SLC
                                  new model - ItElite. Check with your distribution partner
                                                                    document        36-22for filed
                                                                                             the proper
                                                                                                    04/03/20        page 5 of 9
   antenna for your network requirements.




   Q: What is the operating temperature range? Can it support operations in -40C weather?

   A: Most of the Baicells eNBs operate in the range of -40F to 131F (-40C to 55C). For your specific model,
   check the data sheet specs on our website: https://baicells.zendesk.com/hc/en-
   us/categories/204105328-Hardware




   Q: How long is the Baicells manufacturer warranty for?

   A: Baicells warrants your product to be free from physical defects in material and workmanshiip for a period
   of 1 year from the date of the original retail purchase. You can find the written standard product warranty on
   our website: https://baicells.zendesk.com/hc/en-us/articles/360000992414-Baicells-Standard-
   Product-Warranty




   Q: Will there be an option for Layer 2 connections?

   A: Currently in testing. Layer 2 is projected to be supported soon.




   Q: Where am I setting bandwidth restrictions, and how is bandwidth controlled?

   A: You can configure the eNB bandwidth settings using either the eNB GUI or the OMC. Refer to the
   Baicells Configuration & Network Administration Guide: https://baicells.zendesk.com/hc/en-
   us/articles/115002163893-Configuration-Network-Administration-Guide




   Q: When my trial kit arrives what kind of information should I expect to arrive with it?

   A: An installation guide or user manual will be provided and may be found on our website:
   https://baicells.zendesk.com/hc/en-us/categories/204105328-Hardware




   Q: Do you have a proposed channel plan, e.g., antenna down tilt, polarization, specification?

   A: ABAB (reuse 2). Down tilt depends on desired coverage. Dual slant polarization.




   Q: Is the attention to the UE slotted or scheduled?

   A: Scheduled. LTE has about half the latency of WiMAX. Operators who only have experience with Wi-Fi
   based or Cambium products often ask about latency. There is no issue with latency with LTE, not even with
   gamers or other sensitive applications. LTE has about half the latency of WiMAX. The issue is really about
   jitter and that's problematic with best effort technologies like Wi-Fi because latency is so variable.


https://baicells.zendesk.com/hc/en-us/articles/228076248-eNodeB                                                                   3/7
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   Q: I have an eNB in the field that has a bad surge arrestor. Can you test the DL bandwidth on the eNBs by
   bypassing the Ethernet surge arrestor?

   A: If your surge arrestor is not up to par, we suggest skiipping the Ethernet surge arrestor and connecting
   directly to the PCB Ethernet port. If you are having an issue with a surge arrestor, please email
   support_na@baicells.com to request an exchange. If you do not want to exchange it, we suggest you bypass
   the Ethernet surge arrestor.




   Q: What is the proper way to set the mobile carrier code (PLMN) on the eNB?

   A: All operators using the Baicells CloudCore OMC share the same public land mobile network (PLMN)
   number: 31198
           3119




   Q: Why does the GUI take me back to the login page when I try to click on any of the items in the left
   column?

   A: This problem may be due to having more than one tab open to the eNB web GUI. You can resolve this by
   either closing the second tab, closing and reopening the web browser, or accessing the web GUI from a
   different web browser.




   Q: If the eNB frequency is set at 3660/20MHz, does this mean the frequency will cover 3650 to 3670?

   A: Yes, if the frequency is set to 3660 the eNB will use 3650-3670.




   Q: How can I avoid a PCI violation?

   A: Physical Cell Identifier, or Layer 1 identity, is an essential configuration parameter of a radio cell that
   uniquely identifies each cell site in the wireless network. PCI planning is crucial for quality of service (QoS).
   Use a PCI calculator or the PCI planning spreadsheet provided on our website to plan your PCIs. No two
   eNBs in close proximity to another should have the same PCI number. The more cells you deploy, the more
   this will matter and can cause problems. Refer to the BaiTip on this subject:
   https://community.na.baicells.com/t/baitip-of-the-day-december-15th-2016-physical-cell-identifiers-
   pci/169




   Q: Is there any way to increase the distance of the coverage area through configuration settings?

   A: Two configurable parameters can affect the distance that an eNB can reach UEs: One is the Special
   SubFrame Pattern (SSP), and the other is the Zero Correlation Zone index. Setting the SSP to 5 (instead of
   the default 7) increases the guard time between transmissions switching from downlink to uplink or from
   uplink to downlink. This provides more time for the signal to radiate in one direction before switching to the
   other direction. Please note that all sectors on the same tower should use the same SSP setting of either 5 or
   7. Setting the Zero Correlation Zone index anywhere from 13 to 15 also can provide support for greater

https://baicells.zendesk.com/hc/en-us/articles/228076248-eNodeB                                                        4/7
1/12/2020                                                            eNodeB – BaiCells Technologies

   distance.
         USDCYou may need tocase
                  IN/ND      reboot1:20-cv-00037-HAB-SLC
                                   the eNB when you change these settings. Many factors
                                                                      document          affect distance
                                                                                    36-22               and
                                                                                                filed 04/03/20         page 7 of 9
   signal quality, including foliage or other objects between the antennae, weather, interference, power level,
   etc. Please refer to the Baicells Configuration & Network Administration Guide or the Baicells Operation,
   Maintenance, & Troubleshooting Guide for more details: https://baicells.zendesk.com/hc/en-
   us/categories/204105328-Hardware




   Q: What does the CINR field mean?

   A: Carrier-to-Interference-and-Noise Ratio (CINR) represents the ratio between the power of the RF carrier
   (wireless signal) bearing the wanted signal and the total power of any interfering signals and noises. CINR is
   expressed in decibels (dB). Typically, the CINR level means the following:

         > 22 dB excellent signal quality
         16 to 22 dB good signal quality

         9 to 16 dB fair signal quality
         < 9 dB poor signal quality




   Q: What is the EARFCN?

   A: EARFCN stands for E-UTRA Absolute Radio Frequency Channel Number. A unique EARFCN number
   is assigned to each radio channel to calculate the exact frequency of the radio carriers. It represents the legal
   center channel on which a wireless service provider can operate its eNB equipment within a given spectrum
   band. For example, the correct EARFCN to use in Band 43 for 3660 MHz is 44190. Refer to the chart and
   other guidance in a BaiTip on this subject on our website: https://community.na.baicells.com/t/baitip-of-
   the-day-november-5th-2016-earfcn-frequencies/112




   Q: How do I determine antenna down tilt?

   A:

   We recommend you use a down tilt calculator to aim your antenna accurately to get the maximum gain for
   your intended coverage area. There are many calculators available online; here is a link to one of them:
   http://www.commscope.com/calculators/qdowntilt.aspx

   Refer to our BaiTip related to this topic: https://community.na.baicells.com/t/baitip-of-the-day-october-
   26th-2016-antenna-down-tilt-accuracy/114




   Q: Besides down tilt, what other recommendations do you have for penetrating dense foliage?

   A: In dense foliage areas, deploy narrow sector antennas (65 degrees or less) in order to concentrate the RF
   energy toward your clients. Also, use low PIM jumper cables to the sectors. Refer to our BaiTips on this
   topic: https://community.na.baicells.com/t/baitip-of-the-day-february-24th-2017-every-db-
   counts/243 and https://community.na.baicells.com/t/baitip-of-the-day-march-21st-2017-dont-use-
   legacy-lmr-cable-with-lte-go-low-pim/281


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1/12/2020                                                                 eNodeB – BaiCells Technologies

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   Q: What is the difference between Gen 1 and Gen 2 Nova-233 1W eNBs?

   A: The Gen 2 eNB improvements include:

         1/3 less weight (merged 3 boards into 1)

         ~ 50% less operating power
         Easier to handle, install, and weatherproof
         Addition of an SFP module, which ships with the unit

         Improved RF emissions




   Q: Where can I find a list of the eNB alarms?

   A: Please refer to the alarms list in the Baicells Operation, Maintenance, & Troubleshooting Guide:
   https://baicells.zendesk.com/hc/en-us/articles/360002892674-Operation-Maintenance-
   Troubleshooting-Guide




   Q: Does rebooting an eNB affect service to users already connected?

   A: Yes, a reboot will cause the eNB to stop serving users. In most cases, the users’ connections will come
   back up, assuming they have made no changes during the reboot.




   Q: If I change the frequency on an eNB, will users who are attached be automatically switched to the new
   frequency?

   A: As of OMC v3.2.2., if you go to Strategy > Frequency&PCI, you can define a change task that will update
   the frequency of the selected eNB(s) automatically. You can also select up to 10 UEs to be changed to the
   new frequency automatically at the same time. Please refer to information on this feature in the Baicells
   Configuration & Network Configuration Guide: https://baicells.zendesk.com/hc/en-
   us/articles/115002163893-Configuration-Network-Administration-Guide




   Sharon Redfoot - May 04, 2018 08:46



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